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 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Brian Whitaker,                           Case No.

12               Plaintiff,
                                                 Complaint For Damages And
13       v.                                      Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
14     Sugar Cone, LP, a California              Act; Unruh Civil Rights Act
       Limited Partnership;
15     From Scratch Dairy, Inc., a
       California Corporation; and Does 1-
16     10,

17               Defendants.

18
19         Plaintiff Brian Whitaker complains of Sugar Cone, LP, a California

20   Limited Partnership; From Scratch Dairy, Inc., a California Corporation; and

21   Does 1-10 (“Defendants”), and alleges as follows:

22
23     PARTIES:

24     1. Plaintiff is a California resident with physical disabilities. He is

25   substantially limited in his ability to walk. He suffers from a C-4 spinal cord

26   injury. He is a quadriplegic. He uses a wheelchair for mobility.

27     2. Defendants Sugar Cone, LP and From Scratch Dairy, Inc. owned Sweet

28   Rose Creamery located at or about 2726 Main St, Santa Monica, California, in


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 1   September 2020.
 2     3. Defendants Sugar Cone, LP and From Scratch Dairy, Inc. own Sweet
 3   Rose Creamery located at or about 2726 Main St, Santa Monica, California,
 4   currently.
 5     4. Plaintiff does not know the true names of Defendants, their business
 6   capacities, their ownership connection to the property and business, or their
 7   relative responsibilities in causing the access violations herein complained of,
 8   and alleges a joint venture and common enterprise by all such Defendants.
 9   Plaintiff is informed and believes that each of the Defendants herein,
10   including Does 1 through 10, inclusive, is responsible in some capacity for the
11   events herein alleged, or is a necessary party for obtaining appropriate relief.
12   Plaintiff will seek leave to amend when the true names, capacities,
13   connections, and responsibilities of the Defendants and Does 1 through 10,
14   inclusive, are ascertained.
15
16     JURISDICTION & VENUE:
17     5. The Court has subject matter jurisdiction over the action pursuant to 28
18   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
19   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
20     6. Pursuant to supplemental jurisdiction, an attendant and related cause
21   of action, arising from the same nucleus of operative facts and arising out of
22   the same transactions, is also brought under California’s Unruh Civil Rights
23   Act, which act expressly incorporates the Americans with Disabilities Act.
24     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
25   founded on the fact that the real property which is the subject of this action is
26   located in this district and that Plaintiff's cause of action arose in this district.
27
28     FACTUAL ALLEGATIONS:


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 1     8. Plaintiff went to Sweet Rose Creamery in September 2020 with the
 2   intention to avail himself of its goods and to assess the business for compliance
 3   with the disability access laws.
 4     9. Sweet Rose Creamery is a facility open to the public, a place of public
 5   accommodation, and a business establishment.
 6     10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 7   to provide wheelchair accessible dining surfaces in conformance with the ADA
 8   Standards as it relates to wheelchair users like the plaintiff.
 9     11. Sweet Rose Creamery provides dining surfaces to its customers but fails
10   to provide any wheelchair accessible dining surfaces.
11     12. The problem that plaintiff encountered is the lack of sufficient knee or
12   toe clearance under the dining surfaces for wheelchair users.
13     13. Plaintiff believes that there are other features of the dining surfaces that
14   likely fail to comply with the ADA Standards and seeks to have fully compliant
15   dining surfaces for wheelchair users.
16     14. On information and belief, the defendants currently fail to provide
17   wheelchair accessible dining surfaces.
18     15. These barriers relate to and impact the plaintiff’s disability. Plaintiff
19   personally encountered these barriers.
20     16. As a wheelchair user, the plaintiff benefits from and is entitled to use
21   wheelchair accessible facilities. By failing to provide accessible facilities, the
22   defendants denied the plaintiff full and equal access.
23     17. The failure to provide accessible facilities created difficulty and
24   discomfort for the Plaintiff.
25     18. The defendants have failed to maintain in working and useable
26   conditions those features required to provide ready access to persons with
27   disabilities.
28     19. The barriers identified above are easily removed without much


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 1   difficulty or expense. They are the types of barriers identified by the
 2   Department of Justice as presumably readily achievable to remove and, in fact,
 3   these barriers are readily achievable to remove. Moreover, there are numerous
 4   alternative accommodations that could be made to provide a greater level of
 5   access if complete removal were not achievable.
 6     20. Plaintiff will return to Sweet Rose Creamery to avail himself of its goods
 7   and to determine compliance with the disability access laws once it is
 8   represented to him that Sweet Rose Creamery and its facilities are accessible.
 9   Plaintiff is currently deterred from doing so because of his knowledge of the
10   existing barriers and his uncertainty about the existence of yet other barriers
11   on the site. If the barriers are not removed, the plaintiff will face unlawful and
12   discriminatory barriers again.
13     21. Given the obvious and blatant nature of the barriers and violations
14   alleged herein, the plaintiff alleges, on information and belief, that there are
15   other violations and barriers on the site that relate to his disability. Plaintiff will
16   amend the complaint, to provide proper notice regarding the scope of this
17   lawsuit, once he conducts a site inspection. However, please be on notice that
18   the plaintiff seeks to have all barriers related to his disability remedied. See
19   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
20   encounters one barrier at a site, he can sue to have all barriers that relate to his
21   disability removed regardless of whether he personally encountered them).
22
23   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
24   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
25   Defendants.) (42 U.S.C. section 12101, et seq.)
26     22. Plaintiff re-pleads and incorporates by reference, as if fully set forth
27   again herein, the allegations contained in all prior paragraphs of this
28   complaint.


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 1     23. Under the ADA, it is an act of discrimination to fail to ensure that the
 2   privileges, advantages, accommodations, facilities, goods and services of any
 3   place of public accommodation is offered on a full and equal basis by anyone
 4   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 5   § 12182(a). Discrimination is defined, inter alia, as follows:
 6            a. A failure to make reasonable modifications in policies, practices,
 7               or procedures, when such modifications are necessary to afford
 8               goods,     services,   facilities,   privileges,     advantages,   or
 9               accommodations to individuals with disabilities, unless the
10               accommodation would work a fundamental alteration of those
11               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
12            b. A failure to remove architectural barriers where such removal is
13               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
14               defined by reference to the ADA Standards.
15            c. A failure to make alterations in such a manner that, to the
16               maximum extent feasible, the altered portions of the facility are
17               readily accessible to and usable by individuals with disabilities,
18               including individuals who use wheelchairs or to ensure that, to the
19               maximum extent feasible, the path of travel to the altered area and
20               the bathrooms, telephones, and drinking fountains serving the
21               altered area, are readily accessible to and usable by individuals
22               with disabilities. 42 U.S.C. § 12183(a)(2).
23     24. When a business provides facilities such as dining surfaces, it must
24   provide accessible dining surfaces.
25     25. Here, accessible dining surfaces have not been provided in
26   conformance with the ADA Standards.
27     26. The Safe Harbor provisions of the 2010 Standards are not applicable
28   here because the conditions challenged in this lawsuit do not comply with the


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 1   1991 Standards.
 2      27. A public accommodation must maintain in operable working condition
 3   those features of its facilities and equipment that are required to be readily
 4   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 5      28. Here, the failure to ensure that the accessible facilities were available
 6   and ready to be used by the plaintiff is a violation of the law.
 7   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 8   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 9   Code § 51-53.)
10      29. Plaintiff repleads and incorporates by reference, as if fully set forth
11   again herein, the allegations contained in all prior paragraphs of this
12   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
13   that persons with disabilities are entitled to full and equal accommodations,
14   advantages, facilities, privileges, or services in all business establishment of
15   every kind whatsoever within the jurisdiction of the State of California. Cal.
16   Civ. Code §51(b).
17      30. The Unruh Act provides that a violation of the ADA is a violation of the
18   Unruh Act. Cal. Civ. Code, § 51(f).
19      31. Defendants’ acts and omissions, as herein alleged, have violated the
20   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
21   rights to full and equal use of the accommodations, advantages, facilities,
22   privileges, or services offered.
23      32. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
24   discomfort or embarrassment for the plaintiff, the defendants are also each
25   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
26   (c).)
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 2          PRAYER:
 3          Wherefore, Plaintiff prays that this Court award damages and provide
 4   relief as follows:
 5       1. For injunctive relief, compelling Defendants to comply with the
 6   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 7   plaintiff is not invoking section 55 of the California Civil Code and is not
 8   seeking injunctive relief under the Disabled Persons Act at all.
 9       2. Damages under the Unruh Civil Rights Act, which provides for actual
10   damages and a statutory minimum of $4,000 for each offense.
11       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
12   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
13
     Dated: September 18, 2020        CENTER FOR DISABILITY ACCESS
14
15
                                      By:
16
17                                    _______________________

18                                           Russell Handy, Esq.
                                             Attorney for plaintiff
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